                           Request for Authorization       to Issue a Subpoena
Case 4:09-cr-00043-SPFto an
                         Document
                            Attorney 81-3  Filed in USDC
                                      for Information     ND/OK
                                                      Relating to on 06/15/09 Page 1 of 5
                                        Representation     of a Client

TO:    Edgar N. Brown, Chief                               FROM:         Douglas A. Horn
       Witness Immunity Unit                                             AssL US. Attorney
       Criminal Division                                                 ND/OK
       1001 G Street NW, Rm 1055
       Washington, DC 20530
       PHONE 202/514-5541                                                PHONE 918/581-7463
       FAX 202/514-1468                                                  FAX 918/581-7769

1.     Name of Attorney Witness:           Oscar Stilley

2.     District:     ND/OK

3.     Nature of Subpoena:         Grand Jury

4.     Name of Case or Investigation:          Lindsey Springer

5.     Nature of Case: Criminal

6.     A.          Name of Clients:

                   Eddy and Judith Patterson, Phillip Roberts, James Lake, Arthur Hawkins, Andrew
                   and Karen Ouwenga, Salvatore Pizzino, Ernie Swisher, Russell Young, Michael
                   Burt, Patrick Turner

       B.          Status of Clients:

                   (X)    Defenda..'1tsin Criminal Cases
                   ()     Defendants in Civil Cases
                   (X)    Subjects
                   (X)    Targets of Grand Jury Investigations
                   (X)    Other

                   (Note: Specific information on each client is detailed below.)

 7.    Relationship of attorney witness· to subjects or defendants or targets (specifically
       indicate whether the witness currently represents any defendants or subjects in the
       matter in which the subpoena is to be issued):

       Eddy and Judith Patterson
       Oscar Stilley represented Eddy and Judith Patterson in their criminal cases, USA v. Eddy
       Patterson and USA v. Judith Patterson (05-CR-55-E), in the Northern District of Oklahoma.
       The Pattersons were convicted of tax and conspiracy charges. Eddy Patterson was also



                                                SUBPOENA 01001
seconvicted of charges including
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                                                                   ND/OK After Eddy Patterson's
                                                                          on 06/15/09    Page 2 o
 conviction, he secured new counsel and has participated in post-conviction Rule 11 meetings
 with the U.S. Attorney's Office for the Northern District of Oklahoma. Oscar Stilley no
 longer represents the Pattersons. Eddy and Judith Patterson, in the presence of their new
 attorneys, each waived any attorney client privilege between themselves and Oscar Stilley.

 Phillip Roberts
 Oscar Stilley represented Roberts in his criminal case in Arkansas. Roberts was convicted on
 tax charges. In is unknown whether Stilley continues to represent Roberts.

 James Lake
 Oscar Stilley represented Lake in his criminal case in Georgia. Lake fired Oscar Stilley
 during his trial. Lake then pleaded guilty to tax charges. Oscar Stilley no longer represents
 Lake.

 Arthur Hawkins
 Hawkins was convicted of wire fraud in the Southern District of Illinois. After the
 conviction, Hawkins fired his attorneys and hired Oscar Stilley to represent him during his
 sentencing hearing. It is unknown whether Stilley continues to represent Hawkins.

 Andrew Ouwen{!a
 Oscar Stilley initially represented Andrew and Karen Ouwenga LTl their criminal case in the
 Western District of Michigan. Stilley did not represent the Ouwengas during trial because
 the court would not allow him to be licensed in its district. The Ouwengas were convicted of
 tax charges. It is unknown whether Stilley continues to represent the Ouwengas.

  Salvatore Pizzino
  Oscar Stilley is currently representing Pizzino, who is under investigation by the IRS in
  Boston, Massachusetts for tax charges.

  Ernie Swisher
  Oscar Stilley represented Swisher in his criminal case in Arkansas. Swisher was convicted
  of tax charges. It is unknown if Stilley continues to represent Swisher.

  Russell Younl!
  Evidence discovered during the investigation of Lindsey Springer indicates that Russell
  Young was represented by Oscar Stilley as of August 2004. It is unknown if Stilley
  continues to represent Young.

  Michael Burt
  Evidence discovered during the investigation of Lindsey Springer indicates that Michael Burt
  was represented by Oscar Stilley as of June 2004. Burt is under investigation by the IRS for
  tax charges. It is uILlrnownif Stilley continues to represent Burt.




                                    SUBPQENA 01002
      Patrick Turner
Case 4:09-cr-00043-SPF Document 81-3 Filed in USDC ND/OK on 06/15/09 Page 3 of 5
     Patrick Turner is under investigation by the IRS for tax charges. Evidence discovered during
     the investigation of Lindsey Springer indicates that Turner paid Oscar Stilley $250,000 on
     behalf of Lindsey Springer. It is unknown whether Turner is represented by Oscar Stilley.

8.    Information sought by the subpoena (if subpoena calls for testimony, indicate the
      nature of the anticipated testimony):

      Any and all client billing records, contracts, description of services, fee schedules, and
      estimates for services referencing the name Lindsey Springer;

     Any and all client billing records, contracts, description of services, fee schedules, and
     estimates for services related to any work performed for any client where Lindsey
     Springer helped, assisted, consulted, or provided advice;

      Documentation of any money paid, given, transferred, or provided to Lindsey Springer for
      any purpose;

      Any and all correspondence with Lindsey Springer related to the above items;

9.    Summary of case or proceeding (include a citation to the charges pending or under
      investigation in a criminal case):

      In 2003, the United States Attorney's Office for the Northern District of Oklahoma
      prosecuted Eddy and Judith Patterson for a variety of federal income tax offenses (Case
      Number 03-CR-055-EA). The Pattersons were represented by Oscar Stilley, an attorney
      from Ft. Smith, Arkansas, who specializes in representing people with "tax protester" beliefs.
      The Pattersons were subsequently convicted, and prior to sentencing, retained new counsel.
      During a post-conviction Rule 11 meeting with the Pattersons and their new counsel,
      information was provided that Oscar Stilley and his associate, Lindsey Springer, who is not
      an attorney, were paid over $400,000 in legal fees from the Pattersons from 2000 to 2003.
      The Pattersons also stated that Stilley and Springer told them that they did not file federal
      income tax returns.

      Pursuant to a grand jury subpoena, bank records of Stilley's client trust account were
      obtained. The records confirmed that Stilley received over $400,000 from the Pattersons,
      and that a significant portion of these proceeds were transferred to Lindsey Springer. Internal
      Revenue Service records showed that Stilley and Springer have not filed federal income tax
      returns for the last five years. This information provided enough evidence to open a grand
      jury investigation of Lindsey Springer for violations of Title 26 US.c. § 7201 (tax evasion)
       and Title 26 U.S.c. § 7203 (failure to file).

      Evidence from the investigation shows that Springer, who is a convicted felon and who is not
      an attorney, assists subjects from all over the nation with legal matters arising from their
      criminal investigations. Most of the subjects Springer assists are under investigation for tax
      violations. Evidence shows that Springer has been paid over $700,000 from individuals he
      has assisted from 2000 to 2005. Since Springer is not an attorney, he utilizes the help of


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      licensed attorneys to represent     81-3
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                                                                        Oscar          Page
                                                                              Stilley has     4 of 5
                                                                                          worked
       with Springer on the cases of the individuals mentioned above, and evidence shows that he
       has been paid over $800,000 from these individuals. The defenses advanced by Stilley and
       Springer in these cases are traditionally considered "tax protester" arguments.

        Evidence also indicates that Stilley has received payments from individuals on behalf of
        Springer because Springer does not utilize a bank account. Stilley uses his client trust
        account to deposit funds for Springer, and transfers these funds to Springer using different
        means.

10.     Relevancy of the information sought to the case or proceeding:

        Springer has a history of promoting anti-tax views and beliefs. Springer does not keep
        records of payments received or work performed for the individuals he assists. He does not
        utilize a bank account, and he conducts most of his financial transactions with cash, money
        orders, or cashier's checks. The individuals Springer assists possess the same anti-tax views
        and beliefs, and it is expected that they will be uncooperative with law enforcement. Records
        from Oscar Stilley's office are imperative to establish the services that Lindsey Springer
        performed for these individuals in exchange for payment Records from Oscar Stilley's
        office are also anticipated to provide leads to other individuals who have paid Springer for
        legal services. This information is essential in proving that Springer evaded his income
        taxes.

11.     Factual statement of the need for the information to the successful completion of the
        case or proceeding:

        Because Oscar Stilley provides funds to Lindsey Springer from his trust fund account, it is
        anticipated that Stilley will have billing records that show the services Lindsey Springer
        performed for their clients.

12.     Are there alternative sources for the information?

        (X)     Yes            ()      No

13.     If there are alternative sources for the information, have attempts been made to obtain
        information from them?

        (X)     Yes, but with no success.

        On September 16,2005, a search warrant was execut~<lat Lindsey Springer's residence to
        obtain billing records for individu~ls whom Springer provided legal services for payment.
        Hardly any billing records were discovered. Springer does not maintain any books or records
        referencing services performed or payments received.

        ()      Yes, with success. Explain below why the subpoena is necessary.

        ()      No. Explain below why the alternative sources have not been pursued.


                                            SUBPQENA 01004
 14. 4:09-cr-00043-SPF
Case   Statement as to adverse impact 81-3
                           Document   on attorney-client
                                            Filed in USDCrelationship:
                                                            ND/OK on 06/15/09 Page 5 of 5

       A.     Has the witness been asked to supply the requested information           voluntarily?

             , () Yes          (X) No

              Explain:·    Oscar Stilley has not been contacted since he is a target of the
                           investigation.

       B.     Will the witness be disqualified from representation        of the client as a result of
              the subpoena being issued and enforced?

              () Yes          (X) No

              Explain:     The subpoena requests non-privileged information only including billing
                           records, fee schedules, contracts, and descriptions of services.

       C.     Is witness a target or subject of any investigation     or is there a basis to believe
              that witness will become one?

               (X) Yes         ( ) No

              Explain:      The investigation has revealed that Oscar Stilley has not filed federal
                            income tax returns for the last five years.

 15.   Basis for belief that information    is not privileged:

       This office is requesting permission to subpoena records relating to billing matters, which are
       not privileged. See: In Re Grand Jury Subpoena, 906 F .2d 1485 (10th Cir. 1990); Chaudhry
       v. Gallerizzo, 174 F.3d 394, 402 (4th Cir. 1999).

 16.   ATTACH COPY OF SUBPOENA.

17.    Date by which subpoena authorization        is needed: January 9,2006




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                                                       Signature of Requestor




                                        SUBPOBNA 01005
